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NOT FOR PUBLlCATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

JANET ROLLAND, individually and on
behalf of all others similarly situated,

Civil Action No. 17-2680 (MAS) (LHG)
Plaintiff,
MEMORANDUM OPINION

V.

SPARK ENERGY, LLC,

 

Def`endant.

 

SHIPP, District Judge

This matter comes before the Court on Defendant Spark Energy, LLC’s (“Defendant”)
motion to dismiss Plaintit`t` Janet Rolland’s (“Plaintiff”) Amended Complaint. (ECF No. 37.)
Plaintiff filed opposition (ECF No. 39) and Defendant replied (ECF No. 40). The Court has
carefully considered the parties’ submissions and decides the matter without oral argument
pursuant to Local Civil Rule 78.1. For the reasons set forth below, the Court grants Defendant’s
motion to dismiss.

I. Background

The crux of the dispute is Plaintiff"s claim that Defendant, an electricity utility provider,
misled consumers into believing that their electricity rates would vary according to market
conditions, but then charged rates incompatible with the market. (See generally Am. Compl., ECF
No. 30.) Speciiically, Plaintiff purchased electricity through Defendant from February 25, 2012
to December 24, 2014. (Id. 11 20.) Following a twelve-month, fixed-rate period, Defendant
allegedly increased its electricity fees by 108%, which Plaintiff claims was incompatible with

market conditions (Id.) Plaintifi` contends that Defendant’s variable market rates were, on

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average, 105% higher than the rates of local utility provider PSE&G. (Id.) Plaintiff asserts that,
while competitor rates demonstrated price variability, Defendant’s rates rose and when competitor
rates decreased, Defendant’s rates remained unchanged. (ld. 11 22.)

According to Plaintiff, “Defendant engages in a classic bait-and-switch deceptive
marketing scheme aimed at consumers hoping to save on the cost of electricity.” (Id. 1| 2.) This
deception allegedly stems from Defendant’s business model, in which it offers customers a fixed
rate for electricity services that is lower than the rates of other electricity providers in the area to
gain their business. (Id. ‘|]1| 2-3.) Then, while the Terms of Service imply that fluctuations in rates
will occur with the market, Defendant actually retains--and utilizes_the right to increase its rates
to amounts incompatible with the market (Id. 11 l?.)

On April 19, 2017, Plaintiff, on behalf of a purported class of similarly situated consumers,
filed a complaint against Defendant claiming: violations of the New Jersey Consumer Fraud Act
(“CFA”); breach of contract; and breach of the implied covenant of good faith and fair dealing.
(Compl. 1| 6, ECF l.) On July 3, 2017, Defendant moved to dismiss the entire Complaint, arguing
that Plaintiff failed to state a claim. (ECF No. 17.) The Court granted Defendant’s motion as to
Plaintiff’s CFA claim, without prejudice, finding that plaintiff failed to sufficiently plead a fraud
claim under Rule 9(b), but denied the motion as to the remaining claims. (Dec. 8, 2017 Order, ECF
No. 28.) The Court permitted Plaintiff to amend the Complaint to plead a CFA claim that meets
the requirements of Rule 9(b). (Id.)

On January 8, 2018, Plaintiff filed an Amended Complaint. (ECF No. 30.) lt is undisputed
that the Amended Complaint is the same as the Original Complaint, except for the addition of
seven paragraphs under the title “Rule 9(b) Allegations.” (Compare Compl, with Am. Compl, ECF

No. 30; Def.’s Moving Br. 8, ECF No. 37-1; Pl.’s Opp’n Br. 21, ECF No. 39.) Defendant now

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moves to dismiss Count I of the Amended Complaint, arguing that Plaintiff again failed to
adequately state a CFA claim. (Def.’s Mot. 2, ECF 37.)
ll. Legal Standard

When analyzing a Rule 12(b)(6) motion, the district court conducts a three-part analysis.
First, the court must “tak[e] note of the elements a plaintiff must plead to state a claim.” Ashcrofl
v. lqbal, 556 U.S. 662, 675 (2009). Second, the court must accept as true all of a plaintiff’s
well-pleaded factual allegations and construe the complaint in the light most favorable to the
plaintiff Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). The court, however,
must disregard any conclusory allegations proffered in the complaint Id. at 210-1 l. Finally, the
court must determine whether the “facts alleged in the complaint are sufficient to show that the
plaintiff has a ‘plausible claim for relief.”’ !d. at 211 (quoting Iqbal, 556 U.S. at 679). “[W]here
the well-pleaded facts do not permit the court to infer more than mere possibility of misconduct,”
the claim is insufficient Iqbal, 556 U.S. at 679 (2009).

Where a plaintiff pleads fraud, however, the plaintiff “must meet a heightened pleading
standard under Federal Ru|e of Civil Procedure 9(b).” Zum'ga v. Am. Home Morrg., No 14-2973,
2016 WL 6647932, at *2 (D.N.J. Nov. 8, 2016). The CFA is subject to the heightened standard of
Rule 9(b). Smajlaj v. Campbell Soup Co., 782 F. Supp. 2d 84, 98 (D.N.J. 2011) (citing F.D.I.C.
v. Ba!hgate, 27 F.Sd 850, 876-77 (3d. Cir. 1994). “ln alleging fraud . . . , a party must state with
particularity the circumstances constituting fraud . . . .” Fed. R. Civ. P. 9(b). “A plaintiff alleging
fraud must therefore support its allegations ‘with all of the essential factual background that would
accompany the first paragraph of any newspaper story_that is, the who, what, when, where and
how of the events at issue.”’ U.S. ex rel. Moore & Co., P.A. v. Majesric Blue Fisheries, LLC, 812

F.3d 294, 307 (3d Cir. 2016) (quoting 111 re Rockejcller Cn'. Props., Im':. Sec. Li!ig., 31 l F.3d 198,

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217 (3d Cir. 2002)). The purpose of Rule 9(b) is “to place the defendants on notice of the precise
misconduct with which they are charged, and to safeguard defendants against spurious charges
of , . . fraudulent behavior.” Sevr'lle lndus. Mach. Corp. v. Southmost Mach. Corp., 742 F.2d 786,
791 (3d Cir. 1984).
III. Discussion

Defendant’s motion to dismiss is based on failure to: (1) meet the heightened pleading
standard required for Rule 9(b); and (2) state a claim upon which relief can be granted because the
only alleged misleading statement is a contractual provision, and a breach of contract, without
more, is not the kind of “substantial aggravating factor” necessary for a viable CFA claim. (See
generally Def.’s Moving Br.)

A plaintiff seeking relief under the CFA must establish: (1) unlawful conduct;
(2) ascertainable loss; and (3) that a causal relationship exists between the defendant’s unlawful
conduct and the plaintiffs ascertainable loss. N.J.S.A. § 56:8-2; Gorthelfv. Toyora Molor Sales,
U.S.A., ]nc. , 525 F. App’x 94, 103 (3d Cir. 2013). Urllawfl.ll conduct includes, “any unconscionable
commercial practice, deception, fraud, false pretense, false promise, [or] misrepresentation . . . in
connection with the sale or advertisement of any merchandise or real estate . . . .” N.J.S.A. § 56:8-2.

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Where a CFA claim is based on a breach of contract, substantial aggravating circumstances’
must be present.” Ga!li v. Key Motorcars, LLC, 2012 WL 1605222, at *6 (D.N.J May 9, 2012)
(citing Cox v. Sear's Roebuck & Co., 138 N.J. 2, 18 (N..l. 1994)).

Defendant argues that Plaintiff’s Amended Complaint simply repeats the same allegations
that the Court originally dismissed as inadequate under Rule 9(b). (Def.’s Moving Br. 8.)

According to Defendant, the additional section of “Rule 9(b) Allegations” in the Amended

Complaint “mere|y parrots the same unspecific and conclusory allegations that plagued Plaintiff’s

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original complaint, but now with the addition of a new heading with the words ‘who, what, where,
when, why, and how. . . .”’ (ld. at 9.) Defendant argues that Plaintiff's Amended Complaint fails
to reach the specificity standard illustrated in the rulings of Melville v. Spark Energy, Inc. and
Vitale v. U.S. Gas & Electrr`c, Inc., two cases that the Court specifically identified as setting the
appropriate pleading standard. (Id. at l.) Defendant contends that Plaintiff, therefore, “does
nothing to meaningfully address the Court’s prior ruling” and the CFA claim should be dismissed
(ld. at 13.) The Court agrees.

Although Plaintiff` argues that her Amended Complaint, particularly the additional “who,
what, where, when, and how” language, provides “extensive, detailed allegations [that] more than
adequately put Defendant on notice” (Pl.’s Opp’n Br. 21), the Court disagrees 'l`he additional
allegations do little to address the deficiencies previously identified by the Court and do not
provide the required factual details to plead a fraud claim. Broad and conclusory allegations1
absent particular facts or circumstances, are insufficient to state a claim based on fraud. Courts
have repeatedly held that CFA claims based on sweeping legal conclusions and broad allegations
will not survive a motion to dismiss. See Solo v. Bed Bath & Beyond, lnc., No. 06-1908, 2007 U.S.
Dist. LEXlS 31088, at *4, *7, *10, *l2 (D.N.J. Apr. 26, 2017) (complaint dismissed where
plaintiff failed to provide specific examples as to how defendant’s misrepresentation induced
plaintiff to purchase bed linens in question, such as a statement that plaintiff purchased the sheets
because of a representation or that plaintiff would not have purchased the sheets had they been
properly labeled); Franulovic v. Coca-Cola Co., No. 07-539, 2007 U.S. Dist. LEXIS 79732, at
*22-23 (D.N.J. Oct. 25, 2007) (plaintiff failed to adequately state a CFA claim under Rule 9(b)
where plaintiff “only focus[ed] on [d]efendants’ conduct” in connection with sale of a dietary drink

and did not allege that plaintiff “actually purchased and consumed [the drink] in order to obtain

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the advertised benefit.”); Gotlhelf, 525 F. App’x at 104-05 (affirming dismissal of CFA claim
where plaintiff claimed defendant failed to disclose a defect in the HID headlamps, but did not
include any factual support for the assertion); Frea'erico v. Home Depot, 507 F.3d 188, 200-01 (3d
Cir. 2007) (overruled fn parr on other grounds) (affirming dismissal where plaintiff alleged
defendant’s vehicle return policies violated the CFA, but failed to allege when she attempted to
return the truck or who informed her that she could not return the vehicle at the unspecified time).

Here, Plaintiff’s CFA claim does not provide the type of factual detail necessary to satisfy
Rule 9(b). Plaintiff’s Amended Complaint does not allege that Plaintiff purchased electricity
through Defendant based on any specific representation(s), or that price was considered by
Plaintiff when purchasing from Defendant. (See e.g., Am. Compl. 11 29 (alleging only that “the
most important consideration for any reasonable consumer when choosing an energy supplier is
price.”) (emphasis added).) Further, although Plaintiff claims that Defendant made “material
misrepresentations and omissions” the only fact to support this allegation is that Defendant
provided Plaintiff its standard Terms of Service on an unspecified date in February 2012, which
contains language about the variable market rate. (ld. 1] 35.) This is insufficient under both the
Rule 9(b) standard and to state a CFA claim as a matter of law.l

PIaintist attempt to cure these deficiencies with the simple addition of conclusory claims
regarding “who, what, when, where, and how” fails to state, with particularity, the circumstances
surrounding the alleged fraud. Plaintiff's CFA claim in the Amended Complaint, therefore, must

be dismissed.

 

l To the extent that Plaintiff’s CFA claim is based on a breach of contract, Plaintiff must set forth
specific explanations and facts that satisfy the CFA’s substantial aggravating circumstances
requirement Suber v. Chrysler Corp., 104 F.3d 578, 587 (3d Cir. 1997).

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IV. Conclusion
For the reasons set forth above, the Court grants Defendant’s motion to dismiss, without
prejudice Plaintiff will have one final opportunity to amend the CFA claim. An Order consistent

with this Memorandum Opinion will be entered by the Court.

 

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